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11
                                IN THE UNITED STATES DISTRICT COURT
12
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
13

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15     RALPH COLEMAN, et al.,                                        CASE NO. CIV S-90-0520 LKK
                                                                     JFM P
16                                                     Plaintiffs,
                                                                     STIPULATION AND
17                     v.                                            ORDER RE:
                                                                     CLINICAL COMPETENCY
18     ARNOLD SCHWARZENEGGER, et al.,                                OF PSYCHIATRISTS,
                                                                     CONFIDENTIALITY OF
19                                                   Defendants.     IDENTIFYING
                                                                     INFORMATION
20
                                               STIPULATION
21
                                                       I.
22
                      STIPULATION ON REVISED PROGRAM GUIDE LANGUAGE
23
                 The parties, by and through their counsel, have agreed that the Revised Program Guide
24
      will state as follows:
25
                 A.   All newly-hired psychiatrists must meet minimum credentialing criteria as
26
      follows:
27
                      Satisfactorily completed specialized training requirements in psychiatry
28
                      in programs that are accredited by the Accreditation Council for
      STIPULATION AND ORDER RE. PSYCHIATRISTS
                                                       1
     Case 2:90-cv-00520-KJM-DB Document 1968 Filed 09/11/06 Page 2 of 4

 1                 Graduate Medical Education (ACGME) or certified by the Royal College of

 2                 Physicians and Surgeons of Canada.

 3                 Two patterns of training are acceptable:

 4                 1. Three-Year Psychiatry Residency Program

 5                 A broad-based clinical year of ACGME-accredited training in internal medicine,

 6                 family practice, or pediatrics; or an ACGME-accredited transitional year program

 7                 that included a minimum of four months of primary care; or an ACGME

 8                 accredited residency in a clinical specialty requiring comprehensive and

 9                 continuous patient care.

10                      AND

11                 Three full years of postgraduate, specialized residency training

12                 in a psychiatry program accredited by the ACGME.

13                      OR

14                 1.        Four-Year Psychiatry Residency Program

15                 Four years of training in an ACGME-accredited program in

16                 psychiatry is acceptable. A psychiatry PGY-1 must include at least four

17                 months in internal medicine, family practice, and/or pediatrics. This

18                 training must be in a clinical setting that provides comprehensive and

19                 continuous patient care. No more than one month of this requirement may

20                 be fulfilled by an emergency medicine rotation, as long as the

21                 experience predominantly involves medical evaluation and treatment,

22                 rather than surgical procedure. Neurology rotations may NOT be used to

23                 fulfill this four-month requirement.

24                 If the candidate's training program(s) is not currently accredited by the ACGME,

25                 CDCR shall research the history of the program(s) to determine if it was

26                 accredited at the time the candidate attended and completed the training.

27          B.     All psychiatrists hired before January 2006 must meet the above criteria or must

28 undergo a court-mandated evaluation of their clinical competency for employment in the position

      STIPULATION AND ORDER RE. PSYCHIATRISTS
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     Case 2:90-cv-00520-KJM-DB Document 1968 Filed 09/11/06 Page 3 of 4

 1 of psychiatrist with the California Department of Corrections and Rehabilitation.

 2          C.       In lieu of putting the deadline into the Revised Program Guide, the parties

 3 stipulate that this process will be completed by June 1, 2007.

 4          D.       Defendants shall make periodic reports to Special Master Keating and Plaintiffs'

 5 counsel concerning the evaluation process and the progress towards completion and will

 6 promptly notify Mr. Keating and Plaintiffs' counsel of any circumstances that threaten to prevent

 7 or impede the completion of the process by June 1, 2007.

 8                                                   II.

 9                   STIPULATION FOR ENTRY OF PROTECTIVE ORDER

10          E.       To the extent Defendants provide, by the request of the Special Master or Court,

11 Plaintiffs’ counsel with the identities of any psychiatrists hired before January 2006 who do not

12 meet the above minium credentialing criteria or who must undergo a court-mandated evaluation

13 of their clinical competency for employment in the position of psychiatrist with the California

14 Department of Corrections and Rehabilitation, the parties stipulate that the information will be

15 subject to a seal imposed by this Court to ensure it is maintained on a confidential basis pursuant

16 to applicable court rules.

17          Dated:       8/9/06                            /s/ Lisa Tillman
                                                           Lisa A. Tillman, Esq.
18                                                         Deputy Attorney General
                                                           Attorney for Defendants
19
20          Dated:       8/8/06                            /s/ Michael Bien
                                                           Michael W. Bien, Esq.
21                                                         Rosen, Bien & Asaro, LLP
                                                           Attorney for Plaintiffs
22
            Dated:        8/10/06                          /s/ Steve Fama
23                                                         Steve Fama, Esq.
                                                           Prison Law Office
24                                                         Attorney for Plaintiffs

25                                                ORDER

26          This Court has reviewed the first portion of the above stipulation of the parties

27 concerning language to insert in the Revised Program Guide to address the clinical competency

28 of psychiatrists and hereby adopts it as an order of this court.

      STIPULATION AND ORDER RE. PSYCHIATRISTS
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     Case 2:90-cv-00520-KJM-DB Document 1968 Filed 09/11/06 Page 4 of 4

 1          This Court has reviewed the second portion of the above stipulation of the parties

 2 concerning the sealing of information containing or indicating the confidential nature of the

 3 identities of those CDCR psychiatrists hired before 2006 who do not meet minimum

 4 credentialing criteria. The Court approves the stipulated seal and makes it an order of the court.

 5 Dated: September 8, 2006.

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      STIPULATION AND ORDER RE. PSYCHIATRISTS
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